 

' Case 1:18-mj-03694-.JG Document 1 Entered on FLSD Docket 1/26/2|;1§£[§>@¢ 1 ojU

18-3694-M}-GOODMAN ~ovzs, 2018

STEVEN M. LAR|MORE

cLERK u.& DlsTch c'r.
UNITED STATES DISTRICT COURT . SDIFHAMmmi

SOUTHERN DISTRICT OF NEW YORK

 

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ X
UNITED STATES OF AMERICA : SUPERSEDING INDICTMENT
- V. - : 82 15 Cr. 379 (PKC)
JUAN ANTONIO HERNANDEZ ALVARADO,
a/k/a “Tony Hernandez,”
Defendant.
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ X
COUNT ONE

(Cocaine Importation Conspiracy)
The Grand Jury charges:
OVERVIEW

l. From at least in or about 2004, up to and including
in or about 2016, multiple drug-trafficking organizations in
Honduras and elsewhere worked together, and with support from
certain prominent public and private individuals, including
Honduran politicians and law enforcement officials, to receive
multi-ton loads of cocaine sent to Honduras from, among other
places, Colombia via air and maritime routes, and to transport the
drugs westward in Honduras toward the border with Guatemala and

eventually to the United States.

2. For protection from official interference, and in

order to facilitate the safe passage through Honduras of multi-

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ton loads of cocaine, drug traffickers paid bribes to public
officials, including certain members of the National Congress of
Honduras and Honduran National Police.

3 . JUAN ANTONIO HERNANDEZ AL'\/'AR_ADO , a/k/a “TOny
Hernandez,” the defendant, is a former member of the National
Congress of Honduras, the brother of the current President of
Honduras, and a large-scale drug trafficker who worked with other
drug traffickers in, among other places, Colombia, Honduras, and
MeXicoL to import cocaine into the United States.

4. From at least in or about 2004, up to and including
in or about 2016, JUAN ANTONIO HERNANDEZ ALVARADO, a/k/a “Tony
Hernandez,” the defendant, was involved in processing, receiving,
transporting, and distributing multi-ton loads of cocaine that
arrived in Honduras via planes, go-fast vessels, and, on at least
one occasions a submarine. HERNANDEZ ALVARADO had. access to
cocaine laboratories in Honduras and Colombia, at which some of
the cocaine was stamped with the symbol “TH,” i.e., “Tony
Hernandez.” HERNANDEZ ALVARADO also coordinated and, at times,
participated in providing heavily armed security' for cocaine
shipments transported within Honduras, including by members of the
Honduran National Police and drug traffickers armed with, among

other weapons, machineguns.

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5. As part of his drug-trafficking activities, JUAN
ANTONIO HERNANDEZ ALVARADO, a/k/a “Tony Hernandez,” the defendant,
and his co-conspirators bribed law enforcement officials for
sensitive information to jprotect drug shipments and. solicited
large bribes from major drug traffickers for HERNANDEZ ALVARADO
and on behalf of one or more high-ranking Honduran politicians.

6. In or about February 2014 in Honduras, JUAN ANTONIO
HERNANDEZ ALVARADO, a/k/a “Tony Hernandez,” the defendant, met
with Devis Leonel Rivera Maradiaga, the former leader of a violent
Honduran drug-trafficking organization known as the Cachiros, for
a meeting set up by, among others, a former member of the Honduran
National Police. During part of that meeting, which was video and
audio recorded, HERNANDEZ ALVARADO agreed to help Rivera Maradiaga
by causing Honduran government entities to pay money owed to one
or more Cachiros money-laundering front companies in exchange for
kickback payments from Rivera Maradiaga. Rivera Maradiaga paid
HERNANDEZ ALVARADO approximately $50,000 during the meetingi

STATUTORY ALLEGATIONS

 

7. From at least in or about 2004, up to and including
in or about 2016, in Honduras and elsewhere, and in an offense
begun and committed out of the jurisdiction of any particular state
Or district Of the United States, JUAN ANTONIO HERNANDEZ ALVARADO,

a/k/a “Tony Hernandez,” the defendant, and others known and

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unknown, .at least one of whonl has been. first brought to and
arrested in the Southern District of New York, intentionally and
knowingly combined, conspired, confederated, and agreed together
and with each other to violate the narcotics laws of the United
States.

8. It was a part and an object of the conspiracy that
JUAN ANTONIO HERNANDEZ ALVARADO, a/]<;/a “Tony Hernandez,” the
defendant, and others known and unknown, would and did knowingly
and._intentionallyi import into the United. States and. into the
customs territory of the United States from a place outside thereof
a controlled substance, in violation of Title 21, United States
Code, Sections 952(a) and 960(a)(1).

9. It was further a part and an object of the
conspiracy that JUAN ANTONIO HERNANDEZ ALVARADO, a/k/a “Tony
Hernandez,” the defendant, and others known and unknown, would and
did manufacture, distribute, and possess with intent to distribute
a controlled substance, intending, knowing, and having reasonable
cause to believe that such substance would be unlawfully imported
into the United States and into waters within a distance of 12
miles of the coast of the United States, in violation of Title 21,
United States Code, Sections 959(a) and 960(a)(3).

10. It was further a part and an object of the

conspiracy that JUANl .ANTONIO HERNANDEZ ALVARADO, a/]</a “Tony

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Hernandez;” the defendant, and others known and unknown, would and
did, on board an aircraft registered in the United States,
manufacture, distribute, and possess with intent to distribute a
controlled substance, in'violation.of Title 21, United States Code,
Sections 959(c) and 960(a)(3).

11. The controlled substance that the defendant
conspired to (i) import into the United States and into the customs
territory' of the United. States 'fronl a place outside thereof,
(ii) manufacture and distribute, intending, knowing, and having
reasonable cause to believe that such substance would be unlawfully
imported into the United States and into waters within a distance
of 12 miles of the coast of the United States from a place outside
thereof, and (iii) manufacture, distribute, and possess on board
an aircraft registered in the United States, was five kilograms
and more of mixtures and substances containing a detectable amount
of cocaine, in violation of Title 21, United States Code, Section
960(10) (1) (B).

(Title 21, United States Code, Section 963; and
Title 18, United States Code, Section 3238.)

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COUNT TWO
(Possession of Machineguns and Destructive Devices)

The Grand Jury further charges:

12. Paragraphs 1 through 6 of this Superseding
Indictment are realleged and incorporated by reference as though
fully set forth herein.

13. From at least in or about 2004, up to and including
in or about 2016, in Honduras and elsewhere, and in an offense
begun and committed out of the jurisdiction of any particular state
or district of the United States and for which one of two or more
joint offenders has been first brought to and arrested in the
SOuthern DiStriCt Of New YOrk, JUAN ANTONIO HERNANDEZ ALVARADO,
a/k/a “Tony Hernandez,” the defendant, during and in relation to
a drug trafficking crime for which he may be prosecuted in a court
of the United States, to wit, the narcotics importation conspiracy
charged in Count One of this Superseding Indictment, knowingly
used and carried firearms, and, in furtherance of such crime,
knowingly' possessed firearms, and vaided and. abetted. the use,
carrying, and possession of firearms, to wit, machineguns that

were capable of automatically shooting more than one shot, without

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manual reloading, by a single function of the triggery as well as

destructive devices.

(Title 18, United States Code,
Sections 924(c)(1)(A), 924(c)(1)(B)(ii), 3238, and 2.)

COUNT THREE
(Conspiracy to Possess Machineguns and Destructive Devices)

The Grand Jury further charges:

14. Paragraphs 1 through~ 6 of this Superseding
Indictment are realleged and incorporated by reference as though
fully set forth herein.

15. From at least in or about 2004, up to and including
in or about 2016, in Honduras and elsewhere, and in an offense
begun and committed out of the jurisdiction of any particular state
Or district Of the United StateS, JUAN ANTONIO HER_NANDEZ ALVARADO,
a/k/a “Tony Hernandez,” the defendant, and others known and
unknown, at least one of whonl has been. first brought to and
arrested in the Southern District of New York, intentionally and
knowingly combined, conspired, confederated, and agreed together
and with each other to violate Title 18, United States Code,
Section 924(c).

16. lt was a part and an object of the conspiracy that
JUAN ANTONIO HERNANDEZ ALVAR_ADO, a/k/a “Tony Hernandez,” the

defendant, and others known and unknown, would and did, during and

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in relation to a drug trafficking crime for which they may be
prosecuted in a court of the United States, to wit, the narcotics
importation conspiracy charged in Count One of this Superseding
Indictment, knowingly use and carry firearms, and, in furtherance
of such drug trafficking crime, knowingly possess firearms,
including machineguns that were capable of automatically shooting
more than one shot, without manual reloading, by a single function
of the trigger, as well as destructive devices, in violation of
Title 18,` United States Code, Sections 924(c)(1)(A)(i) and
924(c)(1)(B)(ii).
(Title 18, United States Code, Sections 924(0) and 3238.)

COU'NT FOUR
(Making False Statements)

The Grand Jury further charges:

17. Paragraphs 1 through 6 of this Superseding
Indictment are realleged and incorporated by reference as though
fully set forth herein.

18. On or about October 25, 2016, in the Southern
District of New York, Southern District of Florida, and elsewhere,
JUAN` ANTONIO HERNANDEZ ALVARADO, a/k/a “Tony' Hernandez,”' the
defendant, in a matter within the jurisdiction of the executive
branch. of the Government of the `United. States, knowingly' and

willfully falsified, concealed, and covered up by a trick, scheme,

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and device a material fact, and made materially false, fictitious,
and fraudulent statements and representations, to wit, during an
interview with, among others, representatives of the U.S. Drug
Enforcement Administration in connection with an investigation
being conducted in the Southern District of New York, HERNANDEZ
ALVARADO made misrepresentations in connection with the criminal
conduct charged in Counts One through Three of this Superseding
Indictment, including that he never accepted. money' from drug
traffickers for any purpose and never provided assistance to drug
traffickers in any way.
(Title 18, United States Code, Section lOOl.)

FORFE ITURE ALLEGATION
'(As to Count One)

 

19. As a result of committing the controlled substance
offense charged in Count One of this Superseding Indictment, JUAN
ANTONIO HERNANDEZ ALVARADO, a/k/a “Tony Hernandez,” the defendant,
shall forfeit to the United States, pursuant to Title 21, United
States Code, Sections 853 and 970, any and all property
constituting, or derived from, any proceeds the defendant
obtained, directly or indirectly, as a result of the offense, and
any and all property used, or intended to be used, in any manner
or part, to commit, and to facilitate the commission of the offense

charged in Count One of this Superseding Indictment.

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FORFEITURE ALLEGATION
(As to Counts Two and Three)

 

20. As a result of.committing the firearms offenses
charged in Counts Two and Three of this Superseding Indictment,
JUAN ANTONIO HERNANDEZ ALVARADO, a/k/a “Tony Hernandez,” the
defendant, shall forfeit to the United States, pursuant to Title
18, United States Code, Section 924(d), all firearms and ammunition
involved in and used in the commission of the offenses charged in
Counts Two and Three of this Superseding Indictment.

Substitute Assets Provision

21. If any of the above-described forfeitable property,

as a result of any act or omission of JUAN ANTONIO HERNANDEZ

ALVARADO, a/k/a “Tony Hernandez,” the defendant:

a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or

deposited with, a third person;

c. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty,

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it is the intent of the United States, pursuant to Title 21, United

States Code, Sections 853(p) and 970, and Title 28, United States

Code, Section 246l(c), to seek forfeiture of any other property of
the defendant up to the value of the above forfeitable property,

(Title 21, United States Code, Sections 853 & 970; and
Title 28, United States Code, Section 2461(€).)

  

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GEOFFR]N s. BERMAN
United States Attorney

 

FOR PERSON -

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
_ v. _

JUAN ANTONIO HERNANDEZ ALVARADO,
a/k/a “Tony Hernandez,”

Defendant.

 

SUPERSEDING INDICTMENT
32 15 Cr. 379 (PKC)

(21 U.S.C. § 963; and
18 U.S.C. §§ 924, lOOl, 3238, 2.)

GEOFFREY S. BERMAN
United States Attorney.

 

A TRUE BILL

 

 

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md Ao 442 (09/13) Am¢ warrant AUSA Name & Tetno: Matthew Laroche (212-637-2420)
_==_

UNITED STATES DISTRICT COURT

for the
Southern District of New York

 

United States ofAmerica
v.

§ ease No_ S2 15 Cr. 379 (PKC)

JUAN ANTON|O HERNANDEZ ALVARADO )

alkla “Tony Hernandez," )

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Defimdanl
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(wm€ vfperw tv b¢ a”¢-w¢d) JUAN ANTONIO HERNANDEZ ALVARADO. elk/a “Tony Hemandez" ,
who is accused of an offense or violation based on the following document filed with the court2

t'J Indictment d Superscding Indictment Cl information Cl Superseding information Cl Complaint
D Probation Violation Petition E.l Supervised Release Violation Petition IJ Violation Notice C| Order of the Court

This offense is briefly described as follows:

21 U.S.C. §§ 959, 983 (conspiracy to import cocaine into the United States)

18 U.S.C. §§ 924(c), 2 (possesslon of machineguns and destructive devices in furtherance..ofu dmg-tratiicklng crime)

18 U.S.C. § 924(0) (consplracy to possess machineguns and destructive devices in furtherance cfa drug-tramcking crime)
18 U.S.C. § 1001 (making false statements)

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S/Henry Pl`tman
Date: 1 1/2‘| /2018 `
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City and state: New York. New York The Honorable Hen Pltr`n n U.S.M.J.
Primed name and t'l!le

 

Returo

 

”I'his warrant was received on (dar¢) h , and the person was arrested on (d¢u¢)
81 felty and .rlale)

 

Date: `_ l 7 _
Arresting ojioer '.r signature

 

Prinled name and title

 

 

